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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                                NEW HAVEN DIVISION

In re                                                :      Chapter 11
                                                     :
SERVICOM LLC,                                        :      Case No. 18-31722 (AMN)
JNET COMMUNICATIONS LLC, and                         :      Case No. 18-31723 (AMN)
VITEL COMMUNICATIONS LLC,                            :      Case No. 18-31724 (AMN)
                                                     :
                              Debtors.               :      (Joint Administration Requested)

             MOTION FOR ORDER AUTHORIZING DEBTORS TO MAINTAIN
             EXISITING BANK ACCOUNTS AND BUSINESS FORMS AND TO
                 MAINTAIN EXISTING CASH MANAGEMENT SYSTEM

        ServiCom LLC (“ServiCom”), JNET Communications LLC (“JNET”) and Vitel

Communications LLC (“Vitel”) (the “Debtors”), by and through their proposed undersigned

counsel, for their motion (the “Motion”) pursuant to sections 105 and 345 of Title 11 of the United

States Code (such title hereinafter the “Bankruptcy Code”) for an order authorizing them to

maintain their existing bank accounts and business forms, and to maintain their existing cash

management system, respectfully state:

        1.     On October 19, 2018 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under Chapter 11 of the Bankruptcy Code. Pursuant to Bankruptcy Code sections 1107(a)

and 1108, the Debtors continue to operate their businesses and manage their properties, affairs,

and assets as debtors-in-possession. No trustee, examiner, or committee has been appointed in

these cases.

        2.     The Court has jurisdiction over this motion pursuant to 28 U.S.C. sections 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. section 157(b). Venue is proper in this

Court for these cases and this motion pursuant to 28 U.S.C. sections 1408 and 1409, respectively.

The basis for the relief requested herein is Bankruptcy Code sections 105 and 345.
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          3.   JNET is a Delaware limited liability company that provides overall management

and administrative functions as the holding company for ServiCom and Vitel. JNET, in

conjunction with its subsidiaries, constitute a full service, outsource provider of customer contact

management and telecommunication infrastructure fulfillment services to Fortune 1000

companies. JNET was founded in July 2003 by David Jefferson, a former senior executive of

Comcast Corporation and AT&T Corporation. JNET has grown significantly since its founding.

JNET realized on a consolidated basis $80 million in revenues in 2017 and is on track to generate

revenues of $70 million in 2018 largely from its two separate but complementary subsidiaries,

ServiCom and Vitel. As of the Petition Date, JNET independently employs approximately 31

people.

          4.   ServiCom is a Delaware limited liability company that is wholly owned by JNET.

ServiCom provides a comprehensive suite of call center outsourcing services to a broad range of

industries. The customer care and telemarketing capabilities include inbound calls, outbound calls,

internet sales, customer service, customer retention, customer affairs, market research, help desk,

lead management, interactive services, and fulfillment services. ServiCom primarily serves clients

in the insurance, utility and telecom industries. ServiCom maintains its principal assets and

operates a call center location in Milford, CT. ServiCom also operates call center locations in

Machesney Park, IL and Sydney, NS (Canada). As of the Petition Date, ServiCom employs

approximately 800 people.

          5.   Vitel is a Delaware limited liability company that is also wholly owned by JNET.

Vitel provides installation and construction related services and other customer management

services to cable and telecom companies, including installation of cable and telephone equipment,

high speed data and digital phone installation, multiple dwelling unit construction and customer



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save services. Vitel currently operates in Georgia, Maryland, New Jersey, Ohio and Texas. As of

the Petition Date, Vitel employs approximately 25 people.

       6.      Unfortunately, the Debtors suffered significant losses in 2017 and 2018 year-to-

date attributable to multiple factors.

       7.      First, ServiCom expanded its operations in anticipation of significant additional

business. Specifically, early in 2016, ServiCom was awarded a significant inbound calling

program. This required the addition of a third call center in Illinois which opened in September

2016. The new program and facility required a tremendous investment in equipment,

infrastructure, and personnel. This expansion also took much more time than anticipated—and

with delay came further costs. This work had the potential to be ServiCom’s single most profitable

program. Unfortunately, the call volume anticipated from the customer did not materialize at the

rate they projected, resulting in negative cash flows.

       8.      Another customer decided in 2017 to discontinue its one type of inbound customer

service work and replace it with another. This is not an issue in and of itself. However, the pull

back of the former work happened at a much faster pace than the substitution of the new work.

The significant drop in revenue experienced during the phase out produced cash flows insufficient

to cover the cost of the call center dedicated to this work. Then, in 2018, the customer cancelled

the second program altogether leaving ServiCom with a large idle investment.

       9.      As for Vitel, the overall shrinking of the residential cable industry significantly

decreased revenue. In particular, starting in late 2017, one cable company reduced the amount of

fulfillment work assigned to subcontractors like Vitel by 40%. This had a significant adverse

impact on cash flow. In response, Vitel took the necessary steps in 2018 to right size its operations




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in light of these changes only to see a further dip in revenue awarded. The 2018 construction work

from new contracts was also delayed from Q2 to Q3, compounding the overall losses suffered.

       10.     JNET and its subsidiaries have responded to this contraction by closing a number

of facilities and otherwise reducing the size of its business and operations which has resulted in a

significant reduction in its overhead and personnel costs. Their overall enterprise and infrastructure

are now consistent with the volume of work they currently have and reasonably anticipate having

for the foreseeable future. Unfortunately, there exists significant unpaid expansion costs, liabilities

arising from the subsequent downsizing of its operations, and other resulting financial challenges.

These circumstances have also placed a tremendous burden on JNET’s and its subsidiaries’

working capital. Thus, JNET, ServiCom and Vitel seek bankruptcy relief under Chapter 11 so they

can focus on their going forward business and return to profitability, and address their liabilities.

       11.     The Office of the United States Trustee has established certain operating guidelines

for debtors-in-possession in order to supervise the administration of Chapter 11 cases. Under these

guidelines, a Chapter 11 debtor generally is required to open new “debtor in possession” bank

accounts for cash and designate their checks as checks of a “debtor in possession.” These

requirements are designed to establish a clear line of demarcation between pre- and post-petition

transactions and prevent unauthorized payment of pre-petition claims.

       12.     Prior to the Petition Date, the Debtors, in the ordinary course of business and in

connection with their cash management system, maintained certain bank accounts. JNET,

ServiCom and Vitel each maintain a separate bank accounts at Bank of America, with ServiCom

having additional bank accounts at RBC Royal Bank for its Canada operations, and do not

commingle their funds (collectively, the “Bank Accounts”). The accounts are used for, inter alia,




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the receipt of deposits from the collection of accounts receivable, electronic fund transfer

payments, payments made by mail, and deposits for payroll.

       13.     The Debtors seek a waiver of the United States Trustee’s requirement that the Bank

Accounts be closed. Enforcement of this requirement would cause disruption in the Debtors’

businesses and the incurring of needless expense.

       14.     The Debtors request that the Bank Accounts remain open in order to meet interim

operational requirements, subject to Court approval, and to continue to be used in the ordinary

course of the Debtors’ businesses. Specifically, the Debtors request that the Bank Accounts be

deemed to be debtor-in-possession accounts, and that the Court authorize their maintenance and

continued use, in the same manner and with the same account numbers, styles, and document forms

as those employed during the pre-petition period.

       15.     Because of the nature of the Debtors’ businesses, it is imperative that the Debtors

be allowed to maintain their Bank Accounts in accordance with their usual and customary

practices. In many Chapter 11 cases, courts have recognized that strict enforcement of the

requirements that a debtor-in-possession close all of its bank accounts does not serve the

rehabilitative purposes of Chapter 11 and have waived such requirements and replaced them with

alternative procedures.

       16.     Similar authorization is warranted in this case. Only if the Debtors are authorized

to continue using the Bank Accounts can the transition to Chapter 11 be smooth and orderly, with

minimal interference to continuing operations. In order to conduct post-petition businesses, the

Debtors need to be able to receive payments from customers and to issue checks to vendors, service

providers, employees and others. Opening additional new accounts and obtaining checks for those

accounts will cause delay and disruption to the Debtors’ businesses. By preserving business



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continuity and avoiding the operational and administrative paralysis that closing all of the Bank

Accounts and opening new ones would create, all parties in interest, including, among others,

employees, vendors and customers, will be best served, and the benefits to the Debtors’ estates

will be considerable.

        17.     The Debtors also request the authority to open or close any of the Bank Accounts

if, in the exercise of their business judgment, the determine that such action is in the best interests

of their estates.

        18.     The Debtors will continue to maintain records respecting transfers relating to the

Bank Accounts so that transactions may be ascertained after they have occurred and will maintain

records that recognize the distinction between pre-petition and post-petition activities.

        19.     In addition, the nature and scope of the Debtors’ businesses and the numerous

suppliers of goods and services and others with whom the Debtors transact business require that

the Debtors be permitted to use their existing business forms, including, but not limited to, checks,

letterhead, order forms, customer sales orders, and customer credit contracts, without alteration or

change. Replacement of the Debtors’ existing business forms would be duplicative and place an

undue burden on the Debtors’ estates. The Debtors believe that equitable considerations, as well

as the “doctrine of necessity”, amply justify such continued use.

        WHEREFORE, as set forth above, the Debtors request that this Court enter an order

authorizing the Debtors to maintain the Bank Accounts and their existing business forms and to

maintain their exiting cash management system, and granting the Debtors such other relief as the

Court deems just and proper.




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   Respectfully submitted this 19th day of October, 2018, at Bridgeport, Connecticut.

                                        SERVICOM LLC,
                                        JNET COMMUNICATIONS LLC
                                        and VITEL COMMUNICATIONS LLC

                                        THE DEBTORS

                                By:     /s/ Stephen M. Kindseth
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